Case 5:24-cv-00703-PCP Document 20-52 Filed 03/29/24 Page 1 of 3




 EXHIBIT 52
         Case 5:24-cv-00703-PCP Document 20-52 Filed 03/29/24 Page 2 of 3

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                                                                 June 20, 2023


Via email

Renita S. Rathinam
rathinam@miplaw.com
McNeely, Hare & War, LLP
5335 Wisconsin Ave, N.W. Suite 440
Washington, DC 20015

Re:     Symbology Patent Assertion and Licensing Offer Letter

Dear Ms. Rathinam:

        We write in response to your letter dated May 30, 2023 regarding Symbology Innovations, LLC’s
(“Symbology”) allegations as to Discord, Inc.’s (“Discord”) alleged use of certain intellectual property
assets purportedly owned by Symbology: specifically, U.S. Patent Nos. 7,992,773, 8,424,752, 8,651,369,
and 8,936,190 (the “Asserted Patents”).

         Your May 30, 2023 letter unfortunately does not respond substantively to the invalidity or
ineligibility positions raised in our letter dated April 12, 2023, or the charts attached thereto. For
example, you state that “[t]he analyses set forth in your April 12 letter appear to be flawed and
unsubstantiated,” but do not point to any specific flaws or explain why our positions are
unsubstantiated. Similarly, you state that “[s]ubject to basic principles of claim interpretation, the
references you mention have essentially no bearing on the Symbology patent claims.” However, you do
not explain how you have applied said “basic principles of claim construction” to arrive at claim
constructions for the claims of the Asserted Patents, or how you applied those claim constructions to
reach your conclusions regarding the prior art references in question. With regard to ineligibility, you
state only that our analysis is “grounded in a truncated view of Claim 1” without further explanation.
Instead of providing a response on the merits, your letter simply references the abstract principle that
duly issued patents are “presumed valid.” These conclusory, blanket assertions do not provide us with
anything to meaningfully evaluate.

       If you would like to provide a substantive response to our letter, or a concrete licensing
proposal, we would be happy to consider it.
        Case 5:24-cv-00703-PCP Document 20-52 Filed 03/29/24 Page 3 of 3
Renita S. Rathinam
June 20, 2023
Page 2



                                                Yours truly,



                                                Matthew Hawkinson
                                                Partner
                                                Hawkinson Yang LLP
